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 6                                     UNITED STATES DISTRICT COURT

 7                                            DISTRICT OF NEVADA

 8                                                     ***

 9   UNITED STATES OF AMERICA,       )
                                     )
10               Plaintiff,          )                          02:03-CR-00500-LRH-LRL
                                     )
11   v.                              )
                                     )                           ORDER
12   MARY KINCAID-CHAUNCEY and DARIO )
     HERRERA,                        )
13                                   )
                 Defendants.         )
14                                   )

15          On May 22, 2006, the United States filed proposed orders of forfeiture (#s 415, 4161) with

16   regard to the above named defendants. Before entering an appropriate order, the court will give the

17   parties an opportunity to file points and authorities with respect to forfeiture.

18          IT IS THEREFORE ORDERED that the United States shall have fifteen (15) days from the

19   entry of this order in which to file points and authorities in support of their proposed orders of

20   forfeiture. Defendants shall then have eleven (11) days from the date such points and authorities

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24   ///

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26          1
                Refers to the court’s docket number.
     Case 2:03-cr-00500-LRH-VCF            Document 419        Filed 05/30/06      Page 2 of 2




 1   are filed in which to file an opposition. The United States shall thereafter have seven (7) days to

 2   file a reply.

 3           IT IS SO ORDERED.

 4           DATED this 30th day of May, 2006.

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                                                       __________________________________
 8                                                     LARRY R. HICKS
                                                       UNITED STATES DISTRICT JUDGE
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